     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   SouthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                      Florida


    SECURITIES AND EXCHANGE COMMISSION         )
                                               )
                                               )
                                               )
                     Plaintiff(s)              )
                                               )
                            v.                      Civil Action No.
                                               )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,    )
            TROY R. J. HOGG, STEPHEN L.        )
         BRAVERMAN, MAX W. BARBER, et al.      )
                                               )
                    Defendant(s)               )
                                   SUMMONS IN A CIVIL ACTION

                                                Arbitrade Ltd.
To: (Defendant’s name and address)              11 Victoria Street
                                                Hamilton, Bermuda HM 11




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                       Securities & Exchange Commission
                                       801 Brickell Avenue, Suite 1950
                                       Miami, FL 33131
                                       Telephone: 305-416-6293


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   SouthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                      Florida


    SECURITIES AND EXCHANGE COMMISSION         )
                                               )
                                               )
                                               )
                     Plaintiff(s)              )
                                               )
                            v.                      Civil Action No.
                                               )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,    )
            TROY R. J. HOGG, STEPHEN L.        )
         BRAVERMAN, MAX W. BARBER, et al.      )
                                               )
                    Defendant(s)               )
                                   SUMMONS IN A CIVIL ACTION

                                                Arbitrade Ltd.
To: (Defendant’s name and address)              10439 Pinetree Drive
                                                Grand Bend, Ontario, Canada N0M 1T0




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                       Securities & Exchange Commission
                                       801 Brickell Avenue, Suite 1950
                                       Miami, FL 33131
                                       Telephone: 305-416-6293


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   SouthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                      Florida


    SECURITIES AND EXCHANGE COMMISSION         )
                                               )
                                               )
                                               )
                     Plaintiff(s)              )
                                               )
                            v.                     Civil Action No.
                                               )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,    )
            TROY R. J. HOGG, STEPHEN L.        )
         BRAVERMAN, MAX W. BARBER, et al.      )
                                               )
                    Defendant(s)               )
                                   SUMMONS IN A CIVIL ACTION


To: (Defendant’s name and address)              Cryptobontix, Inc.
                                                10439 Pinetree Drive
                                                Grand Bend, Ontario, Canada N0M 1T0




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                       Securities & Exchange Commission
                                       801 Brickell Avenue, Suite 1950
                                       Miami, FL 33131
                                       Telephone: 305-416-6293


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                                                                          CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


    SECURITIES AND EXCHANGE COMMISSION                             )
                                                                   )
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                            Plaintiff(s)                           )
                                                                   )
                                   v.                                      Civil Action No.
                                                                   )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,                        )
            TROY R. J. HOGG, STEPHEN L.                            )
         BRAVERMAN, MAX W. BARBER, et al.                          )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)                 Troy Richard James Hogg
                                                   10439 Pinetree Drive
                                                   Grand Bend, Ontario, Canada N0M 1T0




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                           Securities & Exchange Commission
                                           801 Brickell Avenue, Suite 1950
                                           Miami, FL 33131
                                           Telephone: 305-416-6293


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


    SECURITIES AND EXCHANGE COMMISSION                             )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                   v.                                      Civil Action No.
                                                                   )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,                        )
            TROY R. J. HOGG, STEPHEN L.                            )
         BRAVERMAN, MAX W. BARBER, et al.                          )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)                 James L. Goldberg
                                                   12388 N Bayshore DR
                                                   North Miami, FL 33181




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                           Securities & Exchange Commission
                                           801 Brickell Avenue, Suite 1950
                                           Miami, FL 33131
                                           Telephone: 305-416-6293


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                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   SouthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                      Florida


    SECURITIES AND EXCHANGE COMMISSION         )
                                               )
                                               )
                                               )
                     Plaintiff(s)              )
                                               )
                            v.                     Civil Action No.
                                               )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,    )
            TROY R. J. HOGG, STEPHEN L.        )
         BRAVERMAN, MAX W. BARBER, et al.      )
                                               )
                    Defendant(s)               )
                                   SUMMONS IN A CIVIL ACTION


To: (Defendant’s name and address)              Stephen L. Braverman
                                                3916 Greenwood ST
                                                Thousand Oaks, CA 91320




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                       Securities & Exchange Commission
                                       801 Brickell Avenue, Suite 1950
                                       Miami, FL 33131
                                       Telephone: 305-416-6293


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                                                                          CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   SouthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                      Florida


    SECURITIES AND EXCHANGE COMMISSION         )
                                               )
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                                               )
                     Plaintiff(s)              )
                                               )
                            v.                     Civil Action No.
                                               )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,    )
            TROY R. J. HOGG, STEPHEN L.        )
         BRAVERMAN, MAX W. BARBER, et al.      )
                                               )
                    Defendant(s)               )
                                   SUMMONS IN A CIVIL ACTION


                                                Max W. Barber
To: (Defendant’s name and address)              3665 S. Millerbrook Ter
                                                Salt Lake City, UT 84106




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                       Securities & Exchange Commission
                                       801 Brickell Avenue, Suite 1950
                                       Miami, FL 33131
                                       Telephone: 305-416-6293


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You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
     Case 1:22-cv-23171-BB Document 1-2 Entered on FLSD Docket 09/30/2022 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


    SECURITIES AND EXCHANGE COMMISSION                             )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                   v.                                      Civil Action No.
                                                                   )
        ARBITRADE LTD., CRYPTOBONTIX, INC.,                        )
            TROY R. J. HOGG, STEPHEN L.                            )
         BRAVERMAN, MAX W. BARBER, et al.                          )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                                   SION Trading FZE
                                                   c/o Max Barber as Officer/Owner
                                                   3665 S. Millerbrook Ter
                                                   Salt Lake City, UT 84106




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alice Sum, Esq.
                                           Securities & Exchange Commission
                                           801 Brickell Avenue, Suite 1950
                                           Miami, FL 33131
                                           Telephone: 305-416-6293


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You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
